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                             U.S. BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In Re:                                               :
                                                     :
         Taniqua S Morene-Harris                     :
         Guy W Harris                                :
                                                     :      Case No.: 20-11256AMC
                                                     :
Debtor(s)                                            :      Chapter 13



                                CERTIFICATE OF SERVICE


        I, Brad J. Sadek, Esq., hereby certify that on May 18, 2020, a true and correct copy of the
Amended Plan was served by electronic delivery or Regular US Mail to the Debtor, the Trustee,
all secured, priority and affected creditors per the address provided on their Proof of Claims.



                                                            Very Truly Yours,

Date:    May 18, 2020                                       /s/ Brad J. Sadek, Esquire
                                                            Brad J. Sadek, Esquire
